                                                                          Motion GRANTED.



                        UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF TENNESSEE
                             NASHVILLE DIVISION

UNITED STATES OF AMERICA                  )
                                          )
              v.                          )       No. 3:11-00082
                                          )       JUDGE TRAUGER
                                          )
SPENCER RANDOLPH (#17), et. al.           )

  UNOPPOSED MOTION TO MODIFY CONDITIONS OF SUPERVISED RELEASE

       Undersigned counsel, William J. Steed III, on behalf of Defendant, Spencer

Randolph, respectfully files this Motion to Modify Conditions of Supervised Release.

The defense files this Motion after consultation with U.S. Probation Officer Amanda

Russell, and with Assistant Untied States Attorney, Sunny Koshy. The Government

advises that it does not oppose this modification, for reasons set forth herein. U.S.P.O.

Russell is Mr. Randolph’s supervising probation officer, and she has advised counsel

that the requested modification is necessary, for reasons set forth herein. Ms. Russell

can provide the Court with additional information about the issues raised, should the

Court wish to consult with Ms. Russell prior to granting this Motion.

       The defense asks this Court to modify conditions of supervision so as to remove

the requirement that Mr. Randolph remain at a “halfway house” (or “reentry center”) for

one (1) year, as a condition of supervised release. The Judgment reflects this condition

of supervision, at page four (4), Supervised Release Special Conditions, Condition 1.

See Judgment, Docket No. 1576, p. 4.           At sentencing, the parties agreed that Mr.

Randolph would spend five (5) years on supervised release, with a condition of one (1)

year in a “halfway house” (or “reentry center”), in lieu of imprisonment, given Mr.

Randolph’s long history of serious medical problems.

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